CASE 0:21-cr-00153-ECT-JFD Doc. 32 Filed 08/08/22 Page 1 of 9
CASE 0:21-cr-00153-ECT-JFD Doc. 32 Filed 08/08/22 Page 2 of 9
CASE 0:21-cr-00153-ECT-JFD Doc. 32 Filed 08/08/22 Page 3 of 9
CASE 0:21-cr-00153-ECT-JFD Doc. 32 Filed 08/08/22 Page 4 of 9
CASE 0:21-cr-00153-ECT-JFD Doc. 32 Filed 08/08/22 Page 5 of 9
CASE 0:21-cr-00153-ECT-JFD Doc. 32 Filed 08/08/22 Page 6 of 9
CASE 0:21-cr-00153-ECT-JFD Doc. 32 Filed 08/08/22 Page 7 of 9
CASE 0:21-cr-00153-ECT-JFD Doc. 32 Filed 08/08/22 Page 8 of 9
CASE 0:21-cr-00153-ECT-JFD Doc. 32 Filed 08/08/22 Page 9 of 9
